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Attorneys for Defendant


 TIFFANY BURTON, DENISA                      UNITED STATES DISTRICT COURT
 MESKOVIC, NATALIA LYNN                      EASTERN DISTRICT OF NEW YORK
 KENNEDY, WHITNEY HELEM,
 CORRINE LUCAS, COURTNEY                     CIVIL ACTION
 KAMARA, BRITTANY HARRIS, ANN
 ROBERTS, JANEL TURNER, ANDREA               2:22-cv-00691
 GRONDA, BENGINETTE PERRY,
 PRIXIE DINKENS, SARAH DUNCAN,
 ALYSSA SULLIVAN, CORRINDA                   CONSENT ORDER TO AMEND AND
 CROCKET, JASON STEFANO,                     EXTEND TIME TO ANSWER
 PHILISTRA PULCHAND, ANTHONY
 GALASSO, YODIT ESTAFANOS

                    Plaintiffs,

 v.

 INTERCONTINENTAL CAPITAL
 GROUP, INC.

                    Defendant.


         Due Plaintiffs’ counsel seeking to add an additional Plaintiff and

Defense counsel requesting additional time to respond to the Third Amended

Complaint, the Parties have conferred and agree to the following consent

order:

         1.   Plaintiffs may file a third amended complaint by April 21, 2022.
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      2.     Defendant’s time to answer or otherwise move in response to the third

amended complaint is extended to April 28, 2022.

      3.     In the event of a pre-answer motion, the parties shall comply with the

pre-trial conference, scheduling, and “bundling rule” requirements of the Court’s

individual rules.


Dated: April 14, 2022



                                         CONSENTING:


                                         /s/ Justin D. Santagata
                                         Justin D. Santagata, Esq.
                                         Attorney for Plaintiffs


                                         /s/ Katharine T. Batista
                                         Katharine T. Batista, Esq.
                                         Attorney for Defendant


                                         FOR ENTRY:

                                         __________________________________
                                         HON. ERIC N. VITALIANO, U.S.D.J.




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